                  127,&(2)FORM FOR APPEARANCE 6HH)LIWK&LU5XOH
Only attorneys admitted to the Bar of this Court PD\ practice before the Court. Each attorney representing
a party must complete a separate form. (COMPLETE ENTIRE FORMXQOHVVRWKHUZLVHQRWHG).
                              )LIWK&LU&DVHNO.          24-10707

National Association for Gun Rights, Inc., et al.                           vs. Garland, et al.
(6KRUW7LWOH)
The Clerk will enter my appearance as Counsel for Movant States New Jersey, Colorado, Connecticut,

 Delaware, Hawai'i, Illinois, Maryland, Massachusetts, Attorney General Dana Nessel on Behalf of the
 People of Michigan, Minnesota, Nevada, North Carolina, Oregon, Rhode Island, Vermont, & Washingto
______________________________________________________________________________________________________________
(Please list names of all parties represented, attach additional pages if necessary.)
The party(s) I represent IN THIS COURT                   Petitioner(s)           Respondent(s) Amicus Curiae

                                         Appellant(s)                  Appellee(s)                        ✔ Intervenor
   ✔ I certify that the contact information below is current and identical to that listed in my Appellate Filer
Account with PACER.
  /s/ Jeremy M. Feigenbaum                                                        Jeremy.Feigenbaum@njoag.gov
(Signature)                                                                      (e-mail address)

 Jeremy M. Feigenbaum                                                             NJ Bar No. 117762014
(Type or print name)                                                             (State/Bar No.)

 Solicitor General
(Title, if any)

 Office of the Attorney General
 @@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@
(Firm or Organization)
Address                  25 Market Street

City & State Trenton, NJ                                                                              Zip 08625

Primary Tel._ (609) 376-2690                   Cell Phone:                                         2SWLRQDO
NOTE: When more than one attorney represents a single party or group of parties, counsel should designate a lead counsel. In
the event the court determines oral argument is necessary, lead counsel only will receive via e-mail a copy of the court's docket
and acknowledgment form. 2ther counsel PXVWPonitor the court's website for the posting of oral argument calendars.
Name of Lead Counsel: Jeremy
                          BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                  M. Feigenbaum
A. Name of any Circuit Judge of the Fifth Circuit who participated in this case in the district or bankruptcy court.
 N/A
B. Inquiry of Counsel. To your knowledge:
           (1) Is there any case now pending in this court, which involves the same, substantially the same, similar or related isssue(s)?
                                        Yes                           No
                                                                  ✔
           (2) Is there any such case now pending in a District Court (i) within this Circuit, or (ii) in a Federal Administrative Agency which
           would likely be appealed to the Fifth Circuit?
                                         Yes                          No
                                                                  ✔
           (3) Is there any case such as (1) or (2) in which judgment or order has been entered and the case is on its way to this Court by appeal,
           petition to enforce, review, deny?
                                          Yes
                                                                  ✔    No

         (4) Does this case qualify for calendaring priority under 5th Cir. R. 47.7? If so, cite the type of case N/A
If answer to (1), or (2), or (3), is yes, please give detailed information. Number and Style of Related Case
   N/A


Name of Court or Agency

Status of Appeal (if any)_
Other Status (if not appealed)
NOTE: Attach sheet to give further details.                                                                        DKT-5A REVISED -XQH
